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                      UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                 Eastern Division

Jane Doe
                                          Plaintiff,
v.                                                        Case No.: 1:17−cv−03688
                                                          Honorable John Robert Blakey
Harpercollins Publishers, LLC, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 13, 2017:


        MINUTE entry before the Honorable John Robert Blakey: Plaintiff has asked the
Court for permission to proceed with this case anonymously, using the pseudonym Jane
Doe. See [8]. "Judicial proceedings are supposed to be open... to enable the proceedings to
be monitored by the public"; the "concealment of a party's name impedes public access to
the facts of the case, which include the parties' identity." Doe v. City of Chicago, 360 F.3d
667, 669 (7th Cir. 2004). Nevertheless, the presumption that parties identities are public
information can be rebutted by showing that the harm to the plaintiff exceeds the likely
harm from concealment. Id. (citations omitted). Anonymity may prevail, for example,
where the plaintiff is a minor or a rape victim. Id. Here, although Plaintiff's current claims
focus on invasion of privacy, her past allegations of sexual assault are central to this case.
Additionally, because Defendant Kipnis is a professor at the University where Plaintiff
remains a student, Plaintiff may be vulnerable to retaliation by Kipnis' peers or others in
the university community. The danger of retaliation may be "a compelling ground for
allowing a party to litigate anonymously." E.g., Doe v. City of Chicago, 360 F.3d at 669
(citations omitted). Finally, there is no question that Defendants are well aware of
Plaintiff's identify, and thus, they will not be prejudiced by allowing Plaintiff to proceed
under a pseudonym. It is true that Plaintiff's name has been disclosed in connection with
her prior sexual assault complaint against another professor and the litigation surrounding
his ouster from the university, but the Court need not compound any possible harm
resulting from that disclosure. In short, allowing Plaintiff to proceed under a pseudonym
alleviates the potential harm Plaintiff would suffer if named, and will not harm
Defendants, who already know Plaintiff's identity. Plaintiffs motion to proceed under a
pseudonym [8] is granted. Defendant's motion to dismiss [24] is entered and continued to
11/29/17 at 9:45 a.m. in Courtroom 1203. The initial status conference previously set for
10/18/17 is stricken, and the parties need not appear. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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